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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR03-211-JCC
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   MELISSA BELINDA MARTIN,              )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on August 29, 2007. The United States was represented by AUSA Michael J. Lang and the

16 defendant by Terrence Kellogg. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about January 16, 2004 by the Honorable John C.

18 Coughenour on a charge of Conspiracy to Possess Stolen Mail and to Use an Unauthorized

19 Access Device, and sentenced to 24 months custody, 3 years supervised release.

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in drug testing and treatment, abstain from alcohol, submit to search,

22 provide access to financial information, be prohibited from obtaining new credit without

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 permission, not possess any identification documents in any but defendant’s true identity, and pay

02 restitution in the amount of $12,022.00. (Dkt. 31, page 4.)

03          On February 3, 2006, defendant admitted to violating the conditions of supervision by

04 committing the crime of disorderly conduct, committing the crime of driving with a

05 suspended/revoked license, committing the crime of operating a motor vehicle without a valid

06 operator’s license, failing to notify her probation officer within 72 hours of her arrest by Neah

07 Bay/Makah tribal police, associating with known felon Michael Kelly, using alcohol, failing to

08 notify her probation officer of being terminated from her employment, and failing to notify her

09 probation officer of a change in residence. (Dkt.47.) The conditions of supervision were modified

10 to require defendant to reside in a residential reentry center for up to 120 days. (Dkt. 48.) The

11 disposition hearing was stricken.

12          On April 20, 2007, Defendant admitted to violating the conditions of supervised release

13 by failing to complete the residential reentry program and by drinking alcohol. She was sentenced

14 to 90 days in custody, 18 months supervised release. She was also ordered to participate in Moral

15 Reconation Therapy. (Dkt. 57.)

16          In an application dated July 9, 2007 (Dkt. 58), Supervising U.S. Probation Officer Kathi

17 Stringer alleged the following violation of the conditions of supervised release:

18          1.     Failing to notify the probation officer of a change in residence in violation of

19 standard condition number 6.

20          In an application dated August 15, 2007 (Dkt. 60), U.S. Probation Officer Michael S.

21 Larsen alleged the following violation of the conditions of supervised release:

22          2.     Associating with a known felon, Michael Joseph Kelly, on or about July 23, 2007,

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 in violation of standard condition number 9.

02          This violation was added to the pending violation petition.

03          Defendant was advised in full as to those charges and as to her constitutional rights.

04          Defendant admitted the alleged violations and waived any evidentiary hearing as to

05 whether they occurred. (Dkt. 67.)

06          I therefore recommend the Court find defendant violated her supervised release as alleged,

07 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

08 set before Judge Coughenour.

09          Pending a final determination by the Court, defendant has been detained.

10          DATED this 29th day of August, 2007.



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12                                                Mary Alice Theiler
                                                  United States Magistrate Judge
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15 cc:      District Judge:                Honorable John C. Coughenour
            AUSA:                          Michael J. Lang
16          Defendant’s attorney:          Terrence Kellogg
            Probation officer:             Michael S. Larsen
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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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